  Case 2:01-cr-80361-GCS ECF No. 198, PageID.891 Filed 08/29/06 Page 1 of 3

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                         Case No. 01-CR-80361
vs.                                                      HON. GEORGE CARAM STEEH

FREDERICK LAMARR McCLOUD,

                Defendant.
_____________________________/

            ORDER DENYING MOTION FOR RECONSIDERATION (#197)

       Defendant Frederick McCloud moves for reconsideration and relief from the court's

July 7, 2006 Order denying defendant's previous motion for reconsideration and relief from

his November 6, 2003 plea-based convictions for bank robbery, possession of a destructive

device in furtherance of a crime of violence, and felon in possession of a firearm. The court

did not err in determining that defendant McCloud, a resident of Michigan, is subject to

criminal prosecution by the United States. Accordingly,

       Defendant McCloud's motion for reconsideration is hereby DENIED.

       SO ORDERED.

                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE

Dated: August 29, 2006


                                  CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record on August 29, 2006, by
electronic and/or ordinary mail.


                                          s/Josephine Chaffee
                                          Secretary/Deputy Clerk
  Case 2:01-cr-80361-GCS ECF No. 198, PageID.892 Filed 08/29/06 Page 2 of 3

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

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                                          s/Josephine Chaffee
                                          Secretary/Deputy Clerk
  Case 2:01-cr-80361-GCS ECF No. 198, PageID.893 Filed 08/29/06 Page 3 of 3

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

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